Case 2:18-cv-02217-SJO-FFM Document 91-4 Filed 11/05/18 Page 1 of 2 Page ID #:2639



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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11 STEPHANIE CLIFFORD a.k.a.                       CASE NO.: 2:18-cv-02217-SJO-FFM
   STORMY DANIELS a.k.a. PEGGY
12 PETERSON, an individual,
                                                   [PROPOSED] ORDER GRANTING
13                       Plaintiff,                PLAINTIFF STEPHANIE
14                                                 CLIFFORD’S NOTICE OF MOTION
           vs.
                                                   AND MOTION FOR LEAVE TO
15                                                 AMEND TO FILE SECOND
   DONALD J. TRUMP a.k.a. DAVID                    AMENDED COMPLAINT
16 DENNISON, an individual, ESSENTIAL
   CONSULTANTS, LLC, a Delaware
17 Limited Liability Company, MICHAEL
   COHEN and DOES 1 through 10,
18 inclusive,
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                         Defendants.
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                 [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE TO AMEND
Case 2:18-cv-02217-SJO-FFM Document 91-4 Filed 11/05/18 Page 2 of 2 Page ID #:2640



 1         Upon consideration of the Plaintiff’s Motion For Leave to Amend to File Second
 2   Amended Complaint (“Motion”), Defendants’ Opposition, Plaintiff’s Reply, and the
 3   Court’s records and files of the case, and for good cause shown, the Court hereby orders
 4   that Plaintiff’s Motion is granted and that the proposed Second Amended Complaint shall
 5   be deemed filed immediately.
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 7   IT IS SO ORDERED
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 9   Dated:
                                                HON. S. JAMES OTERO
10                                              United States District Judge
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               [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE TO AMEND
